Case 14-31229-sgj15   Doc 180-3 Filed 07/02/18 Entered 07/02/18 11:12:40   Desc
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Case 14-31229-sgj15   Doc 180-3 Filed 07/02/18 Entered 07/02/18 11:12:40   Desc
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Reference Purpose Only

                                                   [Translation]

2017 (sai) No. 35, In Matter of Petition for Commencement of Rehabilitation Proceedings

                                                  DECISION
                        Rehabilitation Debtor: MtGox Co., Ltd.

                        Shibuya 2-11-5, Shibuya-ku, Tokyo




                                                 JUDGMENT
1.       Rehabilitation proceedings shall commence for MtGox Co., Ltd.

2.       An order is issued for the trustee to administer MtGox Co., Ltd.

3.       The following party is appointed as the trustee:

              Nobuaki Kobayashi, attorney-at-law

              MtGox Co., Ltd. Trustee Office, Kojimachi Sanchome Building #202, Kojimachi 3-4-1,
              Chiyoda-ku, Tokyo

4. (1) Submission deadline for report (Article 125 of Civil Rehabilitation Act)

              September 26, 2018

     (2) Time and date of meeting to report status of property

              1:30 pm on September 26, 2018

     (3) Period for filing proofs of rehabilitation claims

              Until October 22, 2018

     (4) Submission deadline for inventory of assets and balance sheet (Article 124 of Civil Rehabilitation
         Act)

              27 December, 2018

     (5) Submission deadline for statement of approval or disapproval

              January 24, 2019

     (6) General examination period for rehabilitation claims

              January 31, 2019, through February 7, 2019

     (7) Submission deadline for rehabilitation plan proposal

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              February 14, 2019

5.       If the trustee intends to conduct a following act (excluding cases related to transactions pertaining to
         regular business), it shall obtain the court’s approval:

     (1) assigning rights, pledging of security interest, leasing, or disposing in any other way (excluding
         collecting of claims) in relation to the rehabilitation debtor’s property

     (2) an act of assuming debts at no charge or waiving rights

     (3) accepting transfer of property

     (4) borrowing money, bill discounting, or guaranteeing

     (5) cancelling an agreement in accordance with Article 49(1) of the Civil Rehabilitation Act

     (6) filing a lawsuit; filing a petition for civil preservation, conciliation, demand for payment, or a petition
         equivalent thereto; or conducting a withdrawal thereto

     (7) settlement or arbitration agreement

     (8) approving a right of segregation, a common benefit claim, or a general priority claim

     (9) foreclosing a property for the purpose of the right of exclusion




                                                  GROUNDS
According to the evidence, the ground under Article 21(1) of the Civil Rehabilitation Act is found in
connection with the rehabilitation debtor falls, but no grounds under an item of Article 25 of the Civil
Rehabilitation Act were found. It is found to be particularly necessary to issue an administration order in order
to administer or dispose of the rehabilitation debtor’s property.

              5:00 pm on June 22, 2018

                     20th Civil Division of the Tokyo District Court

                             Chief Justice Norio Nagaya

                             Justice Daisaku Ueharai

                             Justice Naoya Sano



        This is the original.
               Same date and same office
                      Court Clerk Katsuyuki Hayashi     [sealed]




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